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                           Exh. A

  Supplemental Report of Russell Ramsland
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                     December 6, 2020


Pearson v. Kemp, Case No. 1:20-cv-4809-TCB


United States District Court for Northern District of
Georgia


       Expert Report of Russell J. Ramsland, Jr.




            ________________________________________
                  Russell J. Ramsland, Jr.
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                               RESPONSES TO DR. REDDON:

1) I have read the Dr. Reddon’s rebuttal to my affidavit dated December 5, 2020 and
find it unconvincing in a real world scenario for several reasons. The first of these
reasons is the broadly recognized importance of contextual factors in inferring
various analytical results from research data whether the considerations involve
ecological fallacies, corporate fallacies or individualistic fallacies. Simply put, an
over-reliance on inferred results without taking into consideration the events and
their time- sequencing, the parties of input and influence (corporate or individual)
and the historical and contemporary backdrop in which they exist (“spiraling
contextuality” in political science jargon) yields false assurances in the outcomes.
Dr. Reddon makes this very mistake in his arguments for his counter analysis that
essentially boils down to the notion that Dominion machines cannot be held
responsible for what our team found as highly anomalous reporting in favor of
Biden using 3 different metrics because they are placed in historically democratic
heavy areas to begin with. Therefore we should expect this self-fulfilling outcome.
There are several problems with Dr. Reddon’s argument.

2) The first example of failing to recognize contextual matters is Dr. Reddon’s
apparent assumption that any such selection of Dominion Systems by a heavily
democratic area is divorced from Dominion’s history and alliances. It is absurd to
make such an assumption as the previous 4 affidavits of Spider and my own affidavit
make clear. Further, the new affidavit of Spider adds to the enormity of the
importance of viewing any anomaly in the context of Dominion’s history and
relationships. 1 Clearly Dominion’s history and alliances are of tremendous
importance to the decision makers who select these systems, and part of that
history includes its vulnerability to being tampered with by inside or outside actors.
For instance, in the real world of power politics it cannot be easily dismissed as a
potentially attractive feature in certain cases, and in this sense the relationship
between Dominion’s selection and the heavy bias of Dominion outcomes may
certainly be related. Hence no amount of correlation between Dominion selection
by more heavily democrat counties has anything useful to add to the question of
whether Dominion systems are innocent of fraud or tampering. That question is still
wide open and our three perspectives on anomalous behavior in our analysis of this
question is at least as valid as Dr. Reddons.

3) The second example of failing to recognize contextual matters is illustrated by
one of the very sources Dr. Reddon uses in his analysis, Verified Voting. This
organization has historically been a champion of actual paper ballots and scanners
(as opposed to ballot marking devices, etc. as used by Dominion) for the very reason
they are so vulnerable to manipulation within the system and audit trails can be
erased, changed or even bypassed since many aspects of them are now voluntary as
selected by the user. However, as of late Verified Voting has come under intense
criticism by some of it’s own experts. Important excerpts from Fast Company’s
article about it in 2019 include:



1   andy_huang_affidavit, Spider, 12.5.2020
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“Amid heightened concerns about the integrity of the voting process in the
run-up to the 2020 presidential election, two election security experts
recently quit Verified Voting, a respected election accountability group, in
protest. They claim that it has been downplaying security risks in popular
voting machines.

Richard DeMillo, a Georgia Tech professor who sat on Verified Voter’s
advisory board, just left the group, soon after the departure of UC Berkeley
statistics professor Philip Stark, a board member who sent a fiery letter of
resignation on November 21st. Stark and DeMillo believe that Verified Voting
has been giving election officials false confidence in their voting machines
and providing cover for the companies that make and sell the machines.” It
further says “Amid heightened concerns about the integrity of the voting
process in the run-up to the 2020 presidential election, two election security
experts recently quit Verified Voting, a respected election accountability
group, in protest. They claim that it has been downplaying security risks in
popular voting machines.

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resignation on November 21st. Stark and DeMillo believe that Verified Voting
has been giving election officials false confidence in their voting machines
and providing cover for the companies that make and sell the machines.

In his resignation letter, Stark accused the group of being on the “wrong side”
by approving pricey new voting systems that replace hand-marked ballots
with computer-printed ballot summary cards [BMD], the accuracy of which
he questions since they depend on potentially insecure software. . .

Since the election interference in 2016, many states and localities have been
moving to voting machines called ballot marking devices that record the
voter’s choices digitally and also print them on a paper ballot as a backup.
And there’s the disconnect. The findings of the RLA depend totally on the
assumption that the paper ballots accurately reflect the choices of the voter.
Stark and DeMillo warn against making that assumption.

“Because there is software between the voter and the paper, what the paper
shows might not be what the voter did or saw . . . on the device,” Stark told
me. That’s because the software could be hacked and caused to create a false
paper ballot. In close elections, it might take only a small number of these to
change the result.”

And then finally, lest anyone think the so-called audit in Georgia of it’s
Dominion machines (the same machines as in Maricopa, Co.) answered any
questions about Dominion, Stark says “In Georgia and particular, the kind of
audit that was done is called a ballot polling audit, and a ballot polling and it
doesn’t even check the tabulation at all,” Stark told me. “It just checks whether
there is a sufficiently large majority to report a winner and a sufficiently
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      large sample that it’s implausible that somebody else won.” (italics and
      underline is added)2.

4) These are but two examples of why no one should rely on merely a standalone
analysis without taking into account the real world background and facts. Yet this is
precisely the argument Dr. Reddon posits. Without context, it becomes merely an
analytical argument of whose facts, which data, what approach is the superior one.
While we are comfortable with our approach, which I will more thoroughly outline
later, we would not argue it alone is sufficient to eliminate all other context and
would say the same for Dr. Reddon’s thesis.

5) This leads me to the second problem which is that there are the many
documented vulnerabilities in Dominion’s voting system wherein the votes are
demonstrably switched, and many experts have testified and written about the
many ways this can be accomplished. These proven problems go more directly to
the real question at hand and have been extensively examined by experts include
Harri Hursti, Matt Blaze of Georgetown University and John Halderman of Michigan,
and there are many others.3 The State of Texas has refused to certify Dominion for
use in Texas due to it’s deficiencies, saying “Specifically, the examiner reports raise
concerns about whether the Democracy Suite 5.5-A system is suitable for its
intended purpose; operates efficiently and accurately; and it safe from fraudulent or
unauthorized manipulation”.4                      .

6) Further, spot field testing of results in Antrim Co., MI. that uses the same
Dominion equipment as most of Georgia., have now shown in Antrim Co. that as a
result of a hand recount, 6,000 votes were switched by the machines. Additionally, a
re-tabulation on November 6th of the November 3rd tabulated results in Central
Lake Township yielded dramatically different results as well (see attached Antrim
Report V1.7). Then on December 3rd, from Ware Co., Georgia (that also uses the
same Dominion equipment as Maricopa Co.) comes the report and sworn affidavit of
Garland Favorito that a hand recount, as reported in Voter/GA “confirmed the
Dominion Democracy Suite 5.5 system used throughout Georgia flipped dozens of
votes cast in at least one county for President Donald Trump to former Vice
President Joe Biden during the November 3, 2020 election. Dominion vote flipping
from Trump to Biden was previously believed to have occurred only in Antrim
County, Michigan where the system swapped 6,000 votes from Trump to Biden.


2 https://www.fastcompany.com/90441559/two-experts-quit-election-accountability-group-over-
claims-it-has-been-endorsing-untrustworthy-machines

32006 Hacking Democracy video
2020 Kill Chain video
Everest Report
C-Span Panel: ICIT - Cybersecurity and U.S. Voting Systems (2016)
Matt Blaze Testimony before before US Hse. Comm. On Administration (1/9/20)
Red Team Testing Report Dominion Democracy Suite 4.14-A and Dominion Democracy Suite 4.14.A.1
w/ Adjudication 2.4 - 11 -18 -14 - Freeman, Craft, McGregor Group

4   https://www.sos.texas.gov/elections/forms/sysexam/dominion-d-suite-5.5-a.pdf
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In Georgia, Ware County Elections Director confirmed that the recently completed
hand count audit totals showed the total electronic vote count shorted Donald
Trump 37 votes and added those 37 votes to totals for Joe Biden. The 74 affected
votes represents .52% of the 14,192 county votes cast, exactly double Biden’s total
statewide margin of .26%”. 5

And from Maricopa Co. AZ where Dominion is also the vote counting system comes
further proof that the same sort of machine vote switching behavior is happening
there. The sworn affidavit of GOP chairwoman Linda Brickman as reported in the
Epoch Times saying “Maricopa County GOP chairwoman Linda Brickman on Nov. 30
testified before members of the Arizona State Legislature that she personally
observed votes for President Donald Trump being tallied as votes for Democratic
presidential nominee Joe Biden when input into Dominion machines.

Brickman, the GOP head of one of the country’s largest counties and a veteran county
elections worker, submitted her testimony in a sworn affidavit under penalty of
perjury. She testified that she and her Democratic partner witnessed “more than
once” Trump votes default and shift to Biden when they were entering votes into
Dominion machines from ballots that couldn’t be read by machines.

7) This brings me to Dr. Reddon’s totally incorrect assertions about the use of
algorithms being used in the Dominion voting machines. The use of an algorithm
being used in the vote counting is evident from a number of perspectives. First,
there are decimal places being incorporated into the supposed vote totals instead of
whole number votes. This can be viewed from the NYT times Edison data. In the
time series shown below, note the percentages in Time Series 2020-11-
04T01:10:54Z that shows 3 decimal places (.471) displayed in the percentage
distribution for Biden of the 579,645 votes. But note Trump percentage is only 2
decimal places (.52). One might wish to argue that the issue of decimal places
appearing in the vote number is simply due to the fact only 3 decimal places are
displayed, and that if 20 or 30 decimal places were displayed, multiplying the
percentage decimal by the total votes would yield whole numbers appearing as
votes, instead of points with decimal places. And therefore there is no evidence in
this illustration that an allocative algorithm was utilized. The problem with this is
two-fold. The first is the percentages do not come close to 100% regardless of
rounding. But the much bigger problem is that by displaying only 2 decimal places
for Trump when 3 could clearly be displayed, makes it clear that Trump’s share of
the 579,645 votes is EXACTLY .52 at that time. Therefore, multiplying .52 X the
579,645 vote total yields 301415.4 votes for Trump, a vote that clearly displays
decimals. This is totally contrary to Dr. Rodden assertion that Dominion RCV voting
is incapable of producing non-integer vote totals, and if he were to read Dominion’s
own manual he would find it too doesn’t agree with him. See “Fixed Precision
Decimals” in the manual page below:



5 https://voterga.files.wordpress.com/2020/12/press-release-dominion-flips-trump-votes-to-biden-
in-ga-county.pdf
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    Source: https://static01.nyt.com/elections-assets/2020/data/api/2020-11-
    03/race-page/georgia/president.json


 state         timestamp              eevp      trump %        biden %          TV               BV
georgia   2020-11-04T01:04:54Z         10         0.495         0.495        257210.415      257210.415
georgia   2020-11-04T01:05:56Z         10         0.502         0.488        268269.302      260787.688
georgia   2020-11-04T01:06:57Z         11         0.516         0.474         293312.46       269438.19
georgia   2020-11-04T01:10:54Z         11          0.52         0.471          301415.4      273012.795
georgia   2020-11-04T01:11:58Z         12         0.512         0.478         332111.36       310057.09
georgia   2020-11-04T01:12:16Z         12         0.517         0.474        339754.822      311496.684

    Illustration calculating the “points” for each candidate from the NYT Edison time series by
    multiplying the votes by the percentage to show the calculated votes/ (TV = Trump Votes) (BV =
    Biden Votes)



    Source: Democracy Suite EMS Results Tally & Reporting User Guide
    Version: 5.11-CO::7 May 28, 2019




    8) The second piece of evidence that an algorithm is being utilized comes from our
    observation that the percentage of the votes submitted in each batch that went
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towards a candidate remain unchanged for a long series of time and for a number of
consecutive batches is extremely concerning. Further, the percentage for Trump
decreases in a mathematically extremely consistent pattern. The red arrows
indicate the impossible consistencies. The statistical impossibility of the consistent
percentage reported to Biden approaches zero. This makes clear an algorithm in the
election system is allocating votes based on a percentage.




9) These sorts of problems, ranging from clear cyber vulnerabilities from inside or
outside actors to an algorithm actually “awarding” or “distributing” points instead of
whole votes, simply should never occur in a secure voting system and all of these
are proof Dominion EMS system is not secure.

10) This leads me to the third problem in Dr. Reddon’s analysis that concerns actual
proof of illegal activities with respect to the actions of individuals operating the
election, be they Dominion personnel or county personnel. The ease and possibility
of this type of activity is most graphically laid out in video footage first presented at
the Subcommittee of Georgia Oversight Committee on December 3, 2020 wherein it
was made clear that observers of the Georgia count were mis-led into thinking that
counting had stopped and immediately after clearing the room boxes of ballots were
pulled from under tables and a mad dash for counting them ensued, including
excerpts where stacks of ballots were scanned multiple times.6 Unfortunately,
Dominion equipment doesn’t preclude multiple scans and repetitive counting of the
same ballots.

11) With regards to most of the questions raised by Dr. Reddon as to ASOG’s
analysis of Voting irregularities in Georgia, and it’s sources, I list the following full
report:



6   https://twitter.com/KanekoaTheGreat/status/1335027487357616128
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Georgia Report:




Georgia Corrected Votes
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Georgia Precinct Level By: ASOG
GA Precincts - Simultaneous Massive Reporting at 2020-11-04T06:36:11.798Z

The largest batch of released votes in GA was around 200k at once. This is way larger than any other batch
of votes released in Georgia in the 2020 USA General Election and it came at a convenient time. Hundreds
of precincts reported abnormally high numbers of counted votes simultaneously.




For batches that contain 1-200 votes, Biden consistently gets a higher percentage for that group of votes.
For example, there are 298 instances of 10 votes in a batch. Biden won 78.5% of those votes.
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Data derived from [Source: Clarity / State of GA website] are presented comparing the total votes by
Presidential candidate in the state of Georgia. 27 Counties were analyzed, and these 16 counties were
selected to include in the graph where there was the highest increase in Democrat votes between 2016 and
2020. Within each county, only the top-8 precincts are shown based upon the total DNC vote in 2016. The
"dark red" stacked bar represents votes received by President Trump in 2016 with the gain in 2020
represented by the "light red" stacked bar. The "dark blue" stacked bar represents votes received by
candidate Clinton in 2016 with the gain in 2020 by candidate Biden represented by the "light blue" stacked
bar. Counties are in descending order from left to right by the # of votes gained by Biden in 2020 vs
Clinton in 2016. The blue line is plotted against the right axis and represents the % gain for Biden over
Clinton in 2016, or the ratio between the light blue and dark blue stacked bars. Further analysis is
recommended for any precinct where the Biden gain is >40%, especially in precincts where there is not a
corresponding %'age gain for Trump. In a closely contested election gains over 20% are exceptional and
statistically uncommon and usually only explainable through redistricting and other structural factors.
There are 44 precincts depicted among these 16 counties and 128 total precincts where Biden gain is >40%,
representing 37% of total depicted precincts.

Top 16 precincts by county
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Top 8 precincts by county
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Evidence of Fraud in Conjunction with Use of Dominion
BMD Machines By: ASOG
Evidence of Fraud in Conjunction with Use of Dominion BMD Machines

Data Used: 2020 Votes by County, 2017 US Census demographics by county, 2018 U.S. Election
Assistance Committee voting machine information. All data is available.


Overview
We used multiple statistical tools and techniques to examine if the use of voting machines manufactured by
different companies affected 2020 US election results. We found the use of the Dominion X/ICX BMD
(Ballot Marking Device) machine, manufactured by Dominion Voting Systems, and machines from HART
Intercivic, appear to have abnormally influenced election results


Key Findings:

    •   In counties using Dominion BMD voting machines, candidate Biden appears
        to have consistently received 5% more votes than he should have received
    •   Biden over-performed predicted/expected values in 78 % of the counties
        that used Dominion or Hart machines. In counties with other machines,
        Biden over-performed only 46% of the time (anything close to 50% is
        normal/expected)
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Methodology


The research used a two-phased approach. Phase One developed a predictive model which accurately
predicted Biden results for every U.S. county. Phase Two used the results from Phase One to investigate if
results from counties using machines from Dominion Voting Systems, or any other type of machine, were
significantly different from results from other counties.


Phase One
Our data included votes for each county in the United States and U.S. Census variables from 2017. We
conducted multiple regression analysis using U.S. Census data to develop a model/equation to predict in
any county what percentage of the vote could reasonably be expected to go to candidate Biden. While
naturally the percentage Biden actually achieved in each county fluctuates from the predicted value, we
found for most counties the model does a good job in predicting what should be Biden's percentage of votes
won. (A few counties in some States are outliers. See our analysis paper "Identification of Counties with
Potential Fraudulent Vote Counts")
The graph below shows, for each county, our predicted values for Biden plotted against the actual/final
tally attributed to Biden. (Note the values go from .00 (0% for Biden) to 1 (100% for Biden)). As evidence
in the graph, the predictive model does a good job of predicting actual values for Biden – with the actual
values for Biden being scattered seemingly "randomly" above and below an unseen centerline. There are
some data points that are too "extreme" – which could indicate fraudulent data in those counties. However,
overall, the model does a good job of predicting actual Biden vote percentages.
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Phase Two
After we developed our predictive model, we obtained a data file from the U.S. Election Assistance
Commission showing the voting machines used by each county in the United States. Recent media reports
called into question the machines from Dominion Voting Systems, so we decided to look at our data to
determine if the election results were the same in counties that used Dominion machines compared to the
rest of the counties.

Basic Analysis 1: Biden Performance by Machine Type

To aid in this research we calculated the number of percentage points Biden was over or under our
predicted value in each county. Our initial analysis then examined Bidens's over/under performance against
voting machine type. The results for any machine type should average around zero. The results for most
machine types are as we would expect; Biden's over/under performance averages near zero for most
counties/machines. However, the election results from counties using Hart machines and the Imagecast
X/ICX BMD from Dominion Voting Systems have abnormally high average over-achievement by
candidate Biden.
The following graph shows that in counties that used the Dominion BMD device, Biden's performance
was approximately five percentage points higher (Dominion BMD) or six percentage points higher
(Hart) than it should have been.



Basic Analysis 2: Biden Over-Achievement by County by Machine Type

Next, we simply counted, for each machine type, the number of counties in which Biden over-performs
expectations and the number of counties in which he under-performs. In normal circumstances any
candidate should perform above expectations roughly 50% of the time and under-perform roughly 50% of
the time.
We see this normal result in the "Other" machine counties, with candidate Biden performing "above"
expected values 46% of the time. However, in the Dominion machine counties, Biden performs above
expectations 78% of the time. This is highly indicative (and 99.9% statistically significant) that
something strange is occurring with the Dominion/Hart machines.
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This unusual over/under performance appears in another set of graphs. In the first graph below, we see
Biden's actual percentage result plotted against our predicted percentage for every county in the United
States. The blue line is our center "prediction" line. For normal circumstances half the counties should be
above the blue line and half below. A visual check shows this to be true – and the actual percentages are an
acceptable 45% of counties with Biden over-performing and 55% with him underperforming.




Compare that "normal" graph against the following graph that shows the same data, except this time limited
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to counties with Dominion's X/ICX machines. This time the majority of counties (78%) are ABOVE the
prediction line. This means Biden performed better than expected too often for this to be considered
"normal" election results. Only 22% of the counties that used Dominion X/ICX machines underperformed
for Biden. This abnormality is significant at the 99.9% statistics level. We are very certain something
unusual is occurring.




CHAID Analysis


Our first advanced analysis was a CHAID analysis (Chi-Squared Automatic Interaction Detection) which is
designed to search through variables and variable values and segregate them into groups with similar
results. In terms of our data, this means the CHAID algorithm searched through the different types of
voting machines used – and grouped the machines together that show similar results. If the machines are
not having an impact on the results, the resulting CHAID "tree" will not have any groups.
In our case, the CHAID analysis of voting machines showed five separate groups of machines




When looking at all the data (node 0) the mean Biden over/under performance is 0.0. This is what you
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expect to see for a decent predictive model. The CHAID algorithm then identifies 5 separate groups of
machines, each which seem to impact the results by certain amounts. The first three groups vary by just
0.01 or 0.02 from overall Biden over/under performance of 0.0. These machines are operating close
together in terms of results and do not show a major bias for or against either candidate. These machines
include several brands of machines, including one older Dominion machine (Evolution/ICE). The fourth
and the fifth groups exhibit very different behavior.


The fourth group consists of counties that use Dominion's Imagecast BMD device or Hart's Verity Touch
Writer machine. The CHAID algorithm singled out the counties using these machines. They have results
that average 5.5 percentage points above the overall Node 0 mean on -0.012. This means in counties
using the Dominion or Hart machines, Biden received 5.5 percentage points higher than he was
expected to achieve – or likely would have achieved if the counties used any other type of machine.


[The firth group consists of machines specifically delineated in the U.S. Election Assistance Commission
data as "other", InkaVote (LA County), or ClearBallot. While these machines/counties may warrant
additional investigation, they were used in relatively few counties (InkaVote one county (LA county, CA),
ClearBallot only eleven counties) so they were dropped from further investigation.] The above findings are
statistically significant at the 99.9% level or higher

Graphical Analysis

The CHAID analysis indicated the Dominion and Hart machines produced results on average 5.5% higher
than they should have been compared to counties with other machines. The next question to answer was
whether this average of 5.5% was from relatively few counties having extraordinarily high results for
Biden, or if several of the "Dominion" counties were showing unusually high results.


A graph (shown next page) clearly shows that the votes from counties using Dominion machine follows a
distinct and unusual pattern, which is in fact a very predictable mathematical pattern. If the Dominion
counties were acting as they should – like all the other counties – then the green dots (representing Biden's
results in counties with Dominion/Hart machines) in the graph below would overlay the blue dots (Biden
results in all other counties) in a similar, "mixed up"/random fashion.

We do not see this. Instead, we see the green dots centered higher than the center of the blue dots, meaning
the Dominion counties were, on average, performing continuously above the predicted values for Biden
had the counties using any other machines. This indicates the potential fraud was widespread and
impacted vote counts in a systematic method across many machines and counties.

Graph: Dominion/Hart BMD Machines vs. Other Machines
(Green = Dominion/Hart, Blue = All Others)
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To aid in this graphical analysis above we added center lines for the Dominion/Hart counties and the "other
machine" counties. (see graph next page). The green centerline for the Dominion/Hart counties stays above
the centerline for the blue "other machine" counties – clearly indicating the pattern of counties with
Dominion machines continuously "outperforming" the other counties with other machines, to the benefit of
candidate Biden.
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The equation of the blue center line for "Other machines" counties is:
Biden Actual = 0.00 + 1xPredicted Biden
The equation of the green line of "Dominion/Hart" counties is:
Biden Actual = 0.05 + 1.02x(Predicted Biden)
The slopes of these two lines are "nearly" identical (1.00 vs 1.02). Otherwise, the values are the same
except for the difference between the intercept/starting values of 0.0 and 0.05. The difference between
these two values is five percentage points. This indicates that the Dominion/Hart machines may have
been programmed or manipulated to systematically add five percentage points to Biden's actual vote
count. Again, the statistical significance level of these results is above 99%.



Conclusion

Our analysis of publicly available data shows evidence of possible fraud involving Dominion Voting
System's BMD machines and Hart Verity Touch machines. The analysis shows Dominion machines may
have been used fraudulently in multipole counties across the country. It appears the fraud may have been
some type of systematic programming resulting in the "over-performance" of candidate Biden by
approximately 5% in many of the counties in which the machines were used. The increases in votes
occurred in hundreds of counties in the U.S.
The election results from any county in the U.S. that used Dominion BMD machines or Hart Intercivics
machines are, in our opinion, not reliable. Federal, State and local officials should take every possible
action to investigate and correct the calculated tallies of their elections if they used any of these machines
in the vote counting.
In cases where this is not one hundred percent possible, authorities should nullify the vote from their
election due to lack of certainty in the results.


Georgia Time Series Analysis By: ASOG
Summary:


Overall, based on the data examined, there is evidence of vote count manipulation, strong statistical
suggestion of fraud, and very strong statistical evidence that algorithms were involved in the released vote
counts.

Data source:Edison Research via the New York Times website
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The top graph:

The cumulative spread in percentage between Trump and Biden at any point in time during the vote
counting is shown in this graph, where Trump is positive percentage.
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In other words, a point on the line in this graph represents which candidate is in the lead at any point in
time, and by how much. Movement of the line in this graph indicates change in the magnitude a candidate
is winning by. If the line slopes up, the votes are moving in a direction that favors Trump. If the line slopes
down, the votes are moving in a direction that favors Biden.

The middle graph:

The total accumulated votes counted at any point in time for each candidate is represented in this graph.
Red is Trump. Blue is Biden.

The lower graph:

Each bar on this graph represents what percentage of the votes submitted in each batch went towards a
candidate, where Trump is positive, and Biden is negative.

Analysis:

There are multiple highly anomalous features in this visualization of this state in the USA 2020 General
Election vote count data.

Firstly, I will explain the context of the lower graph and analyze. Every batch of vote counts released
represents various groups of people and their votes. These groups of peoples votes are expected to have
variance, even if multiple batches were produced out of the same geographic area. Large numbers of votes
between multiple candidates are unlikely to have the same percentage of going towards a candidate
multiple times in different batches. What we see in the lower graph instead of the expected variance in
percentage of votes going to Trump or Biden in each batch are easily distinguishable trends, which are
realistically improbable. The statistical probability of that pattern occurring throughout the graph
approaches zero. The observation of these trends not only strongly suggests fraud, but also suggests
automated and algorithmic tampering of vote counts.

There is a mechanical correlation between the suspected algorithmically generated vote count releases
(labeled in blue on the bottom graph) and the relative difference between the line in the upper graph and
zero (an intersection with the line at y=0 in the upper graph indicates a change in which candidate is
leading). Furthermore, as soon as the line in the upper graph intersects with y=0, the algorithmically
generated vote count releases switch to the opposing side - possibly to either maintain or eek in a Biden
victory.

Once the majority of apparent real and organic votes ceased to be counted, we are left with large swaths of
released vote counts that repeatedly have the same exact percentage of votes in each release going to Biden.
By exact, I mean exact. That is until stray batches of apparent organic votes are released, and then the
percentage of votes in each release from the apparent algorithmically generated vote counts going to Biden
seem to adjust slightly to account for the change, which then continue to repeat in each release, until the
next stray organic batch, and the cycle repeats. It is difficult to come up with a realistic scenario where this
described phenomenon is not the result of an algorithm behind the scenes.

The hypothesis involving algorithms can be further supported by attempting to reproduce that algorithm
and running a simulation of the election where the reproduced algorithm is tasked with re-generating the
original apparent algorithmically produced vote count releases.

It is noted that this irregularity may be a result of how the New York Times releases this data.


Beta Distribution Fit:
Attached are plots showing the election anomaly seen at the precinct level for GA. The top plot shows the
percentage difference between Trump and Biden. The middle plot shows the distribution of the two
candidates. The bottom plot shows the null hypothesis (what the Biden distribution would be without
election fraud) obtained by a beta distribution fit.
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The pattern observed is indicative of election Fraud [1]. A reference figure ("reference.png") is attached,
where it shows a similar pattern to those observed in GA - a characteristic peak at high vote % for the
winner (circled).

The most up-to-date dataset was used. For GA, the state vote count matches that appearing on Fox News.
However, for PA and MI, the dataset is incomplete. Nevertheless, the pattern that is characteristic of
election fraud already appears for these states. Note that in the 2016 Election the same pattern can also be
observed (see attached).




Reference:

[1] Statistical detection of systematic election irregularities. Peter Klimek, Yuri Yegorov, Rudolf Hanel,
and Stefan Thurner. PNAS October 9, 2012 109 (41) 16469-16473;
https://doi.org/10.1073/pnas.1210722109
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2020 Beta Distribution




2016 Beta Distribution




Further additions to the time-series NYT precinct level data: Link


Archive containing the precinct level time-series data files from the links in the above mentioned text file:
Link https://datascience-work-product.nyc3.digitaloceanspaces.com/Georgia-Analysis-Documents-
Yuripew%239110/new_nyt_precinct_urls.txt


Archive containing a full flat data file containing all of the parsed data from the currently existing
repository of precinct level time-series data. This was created by treating each record in each consecutive
precinct time-series data file as a record that needs to be inserted or updated into a data structure: Link
https://datascience-work-product.nyc3.digitaloceanspaces.com/Georgia-Analysis-Documents-
Yuripew%239110/data_precincts_timeseries.zip


Data file created from the first pages of the below two listed data sources, detailing registered voters and
turnout per county for the 2016 and 2020 USA General Elections: Link https://datascience-work-
product.nyc3.digitaloceanspaces.com/Georgia-Analysis-Documents-
Yuripew%239110/2016_2020_antrim_michigan_registed_vote_rs_and_turnout_per_precinct.csv
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Data source for 2016 registered voters and turnout data in Antrim, MI:
2016_unofficial_results_general_election_1182016_1.pdf: Link
http://www.antrimcounty.org/downloads/unofficial_results_general_election_1182016_1.pdf


Data source for 2020 registered voters and turnout data in Antrim, MI:
2020_statement_of_votes_cast_1.pdf: Link
http://www.antrimcounty.org/downloads/statement_of_votes_cast_1.pdf


GA Precincts - Simultaneous Massive Reporting at 2020-11-04T06:36:11.798Z
The largest batch of released votes in GA was around 200k at once. This is way larger than any other batch
of votes released in Georgia in the 2020 USA General Election and it came at a convenient time. Hundreds
of precincts reported abnormally high numbers of counted votes simultaneously.


This graph was generated using the data file contained within precincts_timeseries.zip.


Mechanisms For Fraud
Georgia Vote Switching and Mathematical
Inconsistencies By: ASOG
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                              RESPONSES TO DR. MAYER:

SOURCE: https://elections.sos.ga.gov/Elections/voterabsenteefile.do

In reading Dr. Mayer’s response, it appears he doesn’t know or failed to isolate or
otherwise identify ballot records with no return date that were mailed and not
cancelled. These ballots are, at the very least, “live” ballots and within the Dominion
system are available for misappropriation and assignment to people who otherwise
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didn’t vote. That is exactly why ballots need to be tracked and affirmatively marked
cancelled. This misappropriation is technically possible, in fact it’s technically easy
as one can see if they read the Dominion manual.

Our source data was from https://elections.sos.ga.gov/Elections/voterabsenteefile.do. and was
downloaded November 16th.

Apparently Dr. Mayer chose a different source of data that had already excluded
those ballots with no return date.

Our dataset has about total is 4.3M lines of absentee and early ballots. Those lines
include roughly 230,000 lines with no return date. Parsing those lines to eliminate
the C (cancelled), R (rejected) and S (spoiled) ballots still leaves approximately
134,588 ballots that have no received back date and the ballot was not marked
cancelled. Therefore, these ballots are available for electronic assignment and
manipulation and should be considered as likely candidates for malfeasance. We
can probably agree that there were roughly 100,000 ballots cancelled, but I was
highlighting the number of ballots not cancelled that were mailed out. We do not
take issue with the number of cancelled ballots, it just wasn’t my point.

Finally, these ballots are spread across a number of counties, and in the huge
number they represent constitute either gross and widespread negligence, or
something worse.
